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                                             U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                    January 4, 2018
BY ECF
The Honorable Katherine B. Forrest
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:    United States v. Darcy Wedd, et al.,
              S3 15 Cr. 616 (KBF)                                                 1/8/2018

Dear Judge Forrest:

        The Government writes with respect to its sentencing memorandum for defendant Fraser
Thompson. Sentencing for Mr. Thompson is scheduled for January 12, 2018 at 12:00 p.m. The
current deadline for the Government’s sentencing memorandum is January 5, 2018. We
understand from Marc Nurik, counsel for Mr. Thompson, that he intends to file the defense
sentencing memorandum on January 4, 2018. The Government therefore respectfully requests
that the Court extend its deadline to file a sentencing memorandum to January 8, 2018, to permit
the Government sufficient time to respond to the arguments raised in the defendant’s
memorandum. Defense counsel does not object to this request.

                                             Respectfully submitted,

                                             JOON H. KIM
                                             Acting United States Attorney


                                       By:       /s/ Richard Cooper
                                             Sarah E. Paul/Richard Cooper/Jennifer L. Beidel
                                             Assistant United States Attorneys
                                             (212) 637-2326/1027/2212
cc:    Marc Nurik, Esq. (by ECF)

                           1/8/2018 - Application Granted nunc pro tunc.
                                      SO ORDERED.


                           _________________________________
                           HON. KATHERINE B. FORREST, USDJ
